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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -x
JENISA ANGELES, on behalf of herself and all :
others similarly situated,                                             :
                                                                       :    INDEX NO.: 1:20-cv-8560
                               Plaintiffs,                             :
                                                                       :   CLASS ACTION COMPLAINT
                               v.                                      :             AND
                                                                       :    DEMAND FOR JURY TRIAL
BIKE BANDIT, LLC,                                                      :
                                                                       :
                              Defendant.                               :
                                                                       :
                                                                       :
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                                                INTRODUCTION
1.        Plaintiff JENISA ANGELES, on behalf of herself and others similarly situated,

          asserts the following claims against Defendant BIKE BANDIT, LLC as follows.

2.        Plaintiff is a visually-impaired and legally blind person who requires screen-

          reading software to read website content using her computer. Plaintiff uses the

          terms “blind” or “visually-impaired” to refer to all people with visual impairments

          who meet the legal definition of blindness in that they have a visual acuity with

          correction of less than or equal to 20 x 200. Some blind people who meet this

          definition have limited vision. Others have no vision.

3.        Based on a 2010 U.S. Census Bureau report, approximately 8.1 million people in

          the United States are visually impaired, including 2.0 million who are blind, and

          according to the American Foundation for the Blind’s 2015 report, approximately

          400,000 visually impaired persons live in the State of New York.

4.        Plaintiff brings this civil rights action against Defendant for its failure to design,

          construct, maintain, and operate its website to be fully accessible to and



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      independently usable by Plaintiff and other blind or visually-impaired people.

      Defendant’s denial of full and equal access to its website, and therefore denial of

      its goods and services offered thereby, is a violation of Plaintiff’s rights under the

      Americans with Disabilities Act (“ADA”).

5.    Because Defendant’s website, www.bikebandit.com (the “Website”), is not

      equally accessible to blind and visually impaired consumers, it violates the ADA.

      Plaintiff seeks a permanent injunction to cause a change in Defendant’s corporate

      policies, practices, and procedures so that Defendant’s website will become and

      remain accessible to blind and visually-impaired consumers.

                            JURISDICTION AND VENUE
6.    This Court has subject-matter jurisdiction over this action under 28 U.S.C. § 1331

      and 42 U.S.C. § 12181, as Plaintiff’s claims arise under Title III of the ADA, 42

      U.S.C. § 12181, et seq., and 28 U.S.C. § 1332.

7.    This Court has supplemental jurisdiction under 28 U.S.C. § 1367 over Plaintiff’s

      New York City Human Rights Law, N.Y.C. Admin. Code § 8-101 et seq.,

      (“NYCHRL”) claims.

8.    Venue is proper in this district under 28 U.S.C. §1391(b)(1) and (2) because

      Defendant conducts and continues to conduct a substantial and significant amount

      of business in this District, and a substantial portion of the conduct complained of

      herein occurred in this District because Plaintiff attempted to utilize, on a number

      of occasions, the subject Website within this Judicial District.

9.    Defendant is subject to personal jurisdiction in this District. Defendant has been

      and is committing the acts or omissions alleged herein in the Southern District of

      New York that caused injury and violated rights the ADA prescribes to Plaintiff


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       and to other blind and other visually impaired-consumers. A substantial part of

       the acts and omissions giving rise to Plaintiff’s claims occurred in this District: on

       several separate occasions, Plaintiff has been denied the full use and enjoyment of

       the facilities, goods and services offered to the general public, on Defendant’s

       Website in New York County. These access barriers that Plaintiff encountered

       have caused a denial of Plaintiff’s full and equal access multiple times in the past,

       and now deter Plaintiff on a regular basis from accessing the Defendant’s Website

       in the future.

10.    This Court is empowered to issue a declaratory judgment under 28 U.S.C. §§

       2201 and 2202.

                                     THE PARTIES
11.    Plaintiff JENISA ANGELES, at all relevant times, is and was a resident of New

       York County, New York.

12.    Plaintiff is a blind, visually-impaired handicapped person and a member of a

       protected class of individuals under the ADA, under 42 U.S.C. § 12102(1)-(2),

       and the regulations implementing the ADA set forth at 28 CFR §§ 36.101 et seq.,

       and NYCHRL.

13.    Defendant is and was at all relevant times a Delaware Limited Liability Company

       doing business in New York.

14.    Defendant’s Website, and its goods, and services offered thereupon, is a public

       accommodation within the definition of Title III of the ADA, 42 U.S.C. §

       12181(7).

                                 NATURE OF ACTION




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15.    The Internet has become a significant source of information, a portal, and a tool

       for conducting business, doing everyday activities such as shopping, learning,

       banking, researching, as well as many other activities for sighted, blind and

       visually-impaired persons alike.

16.    In today’s tech-savvy world, blind and visually impaired people have the ability

       to access websites using keyboards in conjunction with screen access software

       that vocalizes the visual information found on a computer screen or displays the

       content on a refreshable Braille display. This technology is known as screen-

       reading software. Screen-reading software is currently the only method a blind or

       visually-impaired person may use to independently access the internet. Unless

       websites are designed to be read by screen-reading software, blind and visually-

       impaired persons are unable to fully access websites, and the information,

       products, goods and contained thereon.

17.    Blind and visually-impaired users of Windows operating system-enabled

       computers and devices have several screen reading software programs available to

       them. Some of these programs are available for purchase and other programs are

       available without the user having to purchase the program separately. Job Access

       With Speech, otherwise known as “JAWS” is currently the most popular,

       separately purchased and downloaded screen-reading software program available

       for a Windows computer. Another popular screen-reading software program

       available for a Windows computer is NonVisual Desktop Access “NVDA”.

18.    For screen-reading software to function, the information on a website must be

       capable of being rendered into text. If the website content is not capable of being




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       rendered into text, the blind or visually-impaired user is unable to access the same

       content available to sighted users.

19.    The international website standards organization, the World Wide Web

       Consortium, known throughout the world as W3C, has published version 2.1 of

       the Web Content Accessibility Guidelines (“WCAG 2.1”). WCAG 2.1 are well-

       established guidelines for making websites accessible to blind and visually-

       impaired people. These guidelines are universally followed by most large

       business entities and government agencies to ensure their websites are accessible.

20.    Non-compliant websites pose common access barriers to blind and visually-

       impaired persons. Common barriers encountered by blind and visually impaired

       persons include, but are not limited to, the following:

              a.      A text equivalent for every non-text element is not provided;

              b.      Title frames with text are not provided for identification and

              navigation;

              c.      Equivalent text is not provided when using scripts;

              d.      Forms with the same information and functionality as for sighted

              persons are not provided;

              e.      Information about the meaning and structure of content is not

              conveyed by more than the visual presentation of content;

              f.      Text cannot be resized without assistive technology up to 200%

              without losing content or functionality;

              g.      If the content enforces a time limit, the user is not able to extend,

              adjust or disable it;




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       h.      Web pages do not have titles that describe the topic or purpose;

       i.      The purpose of each link cannot be determined from the link text

       alone or from the link text and its programmatically determined link

       context;

       j.      One or more keyboard operable user interface lacks a mode of

       operation where the keyboard focus indicator is discernible;

       k.      The default human language of each web page cannot be

       programmatically determined;

       l.      When a component receives focus, it may initiate a change in

       context;

       m.      Changing the setting of a user interface component may

       automatically cause a change of context where the user has not been

       advised before using the component;

       n.      Labels or instructions are not provided when content requires user

       input, which include captcha prompts that require the user to verify that he

       or she is not a robot;

       o.      In content which is implemented by using markup languages,

       elements do not have complete start and end tags, elements are not nested

       according to their specifications, elements may contain duplicate

       attributes, and/or any IDs are not unique;

       p.      Inaccessible Portable Document Format (PDFs); and,

       q.      The name and role of all User Interface elements cannot be




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              programmatically determined; items that can be set by the user cannot be

              programmatically set; and/or notification of changes to these items is not

              available to user agents, including assistive technology.

                               STATEMENT OF FACTS
21.    Defendant    is   a   motorcycle   parts   company    that   owns      and   operates

       www.bikebandit.com (its “Website”), offering features which should allow all

       consumers to access the goods and services and which Defendant ensures the

       delivery of such goods throughout the United States, including New York State.

22.    Defendant’s Website offers products and services for online sale and general

       delivery to the public. The Website offers features which ought to allow users to

       browse for items, access navigation bar descriptions, inquire about pricing, and

       avail consumers of the ability to peruse the numerous items offered for sale.

23.    Plaintiff is a visually-impaired and legally blind person, who cannot use a

       computer without the assistance of screen-reading software. Plaintiff is, however,

       a proficient NVDA screen-reader user and uses it to access the Internet. Plaintiff

       has visited the Website on separate occasions using a screen-reader.

24.    On multiple occasions, the last occurring in September of 2020, Plaintiff visited

       Defendant’s website, www.bikebandit.com, to make a purchase. Despite her

       efforts, however, Plaintiff was denied a shopping experience similar to that of a

       sighted individual due to the website’s lack of a variety of features and

       accommodations, which effectively barred Plaintiff from being able to determine

       what specific products were offered for sale.

25.    Many features on the Website lacks alt. text, which is the invisible code

       embedded beneath a graphical image. As a result, Plaintiff was unable to


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       differentiate what products were on the screen due to the failure of the Website to

       adequately describe its content. Such issues were predominant in the section

       where Plaintiff was attempting, but was unsuccessful, in making a purchase.

26.    Many features on the Website also fail to Add a label element or title attribute for

       each field. This is a problem for the visually impaired because the screen reader

       fails to communicate the purpose of the page element. It also leads to the user not

       being able to understand what he or she is expected to insert into the subject field.

       As a result, Plaintiff and similarly situated visually impaired users of Defendant’s

       Website are unable to enjoy the privileges and benefits of the Website equally to

       sighted users.

27.    Many pages on the Website also contain the same title elements. This is a

       problem for the visually impaired because the screen reader fails to distinguish

       one page from another. In order to fix this problem, Defendant must change the

       title elements for each page.

28.    The Website also contained a host of broken links, which is a hyperlink to a non-

       existent or empty webpage. For the visually impaired this is especially paralyzing

       due to the inability to navigate or otherwise determine where one is on the website

       once a broken link is encountered. For example, upon coming across a link of

       interest, Plaintiff was redirected to an error page. However, the screen-reader

       failed to communicate that the link was broken. As a result, Plaintiff could not get

       back to her original search.

29.    These access barriers effectively denied Plaintiff the ability to use and enjoy

       Defendant’s website the same way sighted individuals do.




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30.    It is, upon information and belief, Defendant’s policy and practice to deny

       Plaintiff, along with other blind or visually-impaired users, access to Defendant’s

       website, and to therefore specifically deny the goods and services that are offered

       to the general public. Due to Defendant’s failure and refusal to remove access

       barriers to its website, Plaintiff and visually-impaired persons have been and are

       still being denied equal access to Defendant’s Website, and the numerous goods

       and services and benefits offered to the public through the Website.

31.    Due to the inaccessibility of Defendant’s Website, blind and visually-impaired

       customers such as Plaintiff, who need screen-readers, cannot fully and equally use

       or enjoy the facilities, products, and services Defendant offers to the public on its

       Website. The access barriers Plaintiff encountered have caused a denial of

       Plaintiff’s full and equal access in the past, and now deter Plaintiff on a regular

       basis from equal access to the Website.

32.    If the Website were equally accessible to all, Plaintiff could independently

       navigate the Website and complete a desired transaction as sighted individuals do.

33.    Through her attempts to use the Website, Plaintiff has actual knowledge of the

       access barriers that make these services inaccessible and independently unusable

       by blind and visually-impaired people.

34.    Because simple compliance with the WCAG 2.1 Guidelines would provide

       Plaintiff and other visually-impaired consumers with equal access to the Website,

       Plaintiff alleges that Defendant has engaged in acts of intentional discrimination,

       including but not limited to the following policies or practices:

              a.      Constructing and maintaining a website that is inaccessible to




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                 visually-impaired individuals, including Plaintiff;

                 b.     Failure to construct and maintain a website that is sufficiently

                 intuitive so as to be equally accessible to visually impaired individuals,

                 including Plaintiff; and,

                 c.     Failing to take actions to correct these access barriers in the face of

                 substantial harm and discrimination to blind and visually-impaired

                 consumers, such as Plaintiff, as a member of a protected class.

35.    Defendant therefore uses standards, criteria or methods of administration that have

       the effect of discriminating or perpetuating the discrimination of others, as alleged

       herein.

36.    The ADA expressly contemplates the injunctive relief that Plaintiff seeks in this

       action. In relevant part, the ADA requires:

       In the case of violations of . . . this title, injunctive relief shall include an order to
       alter facilities to make such facilities readily accessible to and usable by
       individuals with disabilities . . . Where appropriate, injunctive relief shall also
       include requiring the . . . modification of a policy . . .

42 U.S.C. § 12188(a)(2).

37.    Because Defendant’s Website has never been equally accessible, and because

       Defendant lacks a corporate policy that is reasonably calculated to cause its

       Website to become and remain accessible, Plaintiff invokes 42 U.S.C. §

       12188(a)(2) and seeks a permanent injunction requiring Defendant to retain a

       qualified consultant acceptable to Plaintiff (“Agreed Upon Consultant”) to assist

       Defendant to comply with WCAG 2.1 guidelines for Defendant’s Website.

       Plaintiff seeks that this permanent injunction requires Defendant to cooperate with

       the Agreed Upon Consultant to:



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              a.      Train Defendant’s employees and agents who develop the Website

              on accessibility compliance under the WCAG 2.1 guidelines;

              b.      Regularly check the accessibility of the Website under the WCAG

              2.1 guidelines;

              c.      Regularly test user accessibility by blind or vision-impaired

              persons to ensure that Defendant’s Website complies under the WCAG

              2.1 guidelines; and,

              d.      Develop an accessibility policy that is clearly disclosed on

              Defendant’s Websites, with contact information for users to report

              accessibility-related problems.

38.    Although Defendant may currently have centralized policies regarding

       maintaining and operating its Website, Defendant lacks a plan and policy

       reasonably calculated to make them fully and equally accessible to, and

       independently usable by, blind and other visually-impaired consumers.

39.    Defendant has, upon information and belief, invested substantial sums in

       developing and maintaining their Website and has generated significant revenue

       from the Website. These amounts are far greater than the associated cost of

       making their Website equally accessible to visually impaired customers.

40.    Without injunctive relief, Plaintiff and other visually-impaired consumers will

       continue to be unable to independently use the Website, violating their rights.

                          CLASS ACTION ALLEGATIONS
41.    Plaintiff, on behalf of herself and all others similarly situated, seeks to certify a

       nationwide class under Fed. R. Civ. P. 23(a) and 23(b)(2): all legally blind

       individuals in the United States who have attempted to access Defendant’s Website


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       and as a result have been denied access to the equal enjoyment of goods and

       services, during the relevant statutory period.

42.    Plaintiff, on behalf of herself and all others similarly situated, seeks to certify a New

       York City subclass under Fed. R. Civ. P. 23(a) and 23(b)(2): all legally blind

       individuals in the City of New York who have attempted to access Defendant’s

       Website and as a result have been denied access to the equal enjoyment of goods and

       services offered, during the relevant statutory period.

43.    Common questions of law and fact exist amongst the Class, including:

              a.         Whether Defendant’s Website is a “public accommodation” under

              the ADA;

              b.         Whether Defendant’s Website is a “place or provider of public

              accommodation” under the NYCHRL;

              c.         Whether Defendant’s Website denies the full and equal enjoyment

              of   its     products,   services,    facilities,   privileges,   advantages,   or

              accommodations to people with visual disabilities, violating the ADA; and

              d.         Whether Defendant’s Website denies the full and equal enjoyment

              of   its     products,   services,    facilities,   privileges,   advantages,   or

              accommodations to people with visual disabilities, violating the

              NYCHRL.

44.    Plaintiff’s claims are typical of the Class. The Class, similarly to the Plaintiff, are

       severely visually impaired or otherwise blind, and claim that Defendant has

       violated the ADA or NYCHRL by failing to update or remove access barriers on

       its Website so either can be independently accessible to the Class.




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45.    Plaintiff will fairly and adequately represent and protect the interests of the Class

       Members because Plaintiff has retained and is represented by counsel competent

       and experienced in complex class action litigation, and because Plaintiff has no

       interests antagonistic to the Class Members. Class certification of the claims is

       appropriate under Fed. R. Civ. P. 23(b)(2) because Defendant has acted or refused

       to act on grounds generally applicable to the Class, making appropriate both

       declaratory and injunctive relief with respect to Plaintiff and the Class as a whole.

46.    Alternatively, class certification is appropriate under Fed. R. Civ. P. 23(b)(3)

       because fact and legal questions common to Class Members predominate over

       questions affecting only individual Class Members, and because a class action is

       superior to other available methods for the fair and efficient adjudication of this

       litigation.

47.    Judicial economy will be served by maintaining this lawsuit as a class action in

       that it is likely to avoid the burden that would be otherwise placed upon the

       judicial system by the filing of numerous similar suits by people with visual

       disabilities throughout the United States.

                          FIRST CAUSE OF ACTION
                 VIOLATIONS OF THE ADA, 42 U.S.C. § 12181 et seq.
48.     Plaintiff, on behalf of herself and the Class Members, repeats and realleges every

       allegation of the preceding paragraphs as if fully set forth herein.

49.    Section 302(a) of Title III of the ADA, 42 U.S.C. § 12101 et seq., provides:

       No individual shall be discriminated against on the basis of disability in the full
       and equal enjoyment of the goods, services, facilities, privileges, advantages, or
       accommodations of any place of public accommodation by any person who owns,
       leases (or leases to), or operates a place of public accommodation.

42 U.S.C. § 12182(a).


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50.    Defendant’s Website is a public accommodations within the definition of Title III

       of the ADA, 42 U.S.C. § 12181(7). The Website is a service that is offered to the

       general public, and as such, must be equally accessible to all potential consumers.

51.    Under Section 302(b)(1) of Title III of the ADA, it is unlawful discrimination to

       deny individuals with disabilities the opportunity to participate in or benefit from

       the products, services, facilities, privileges, advantages, or accommodations of an

       entity. 42 U.S.C. § 12182(b)(1)(A)(i).

52.    Under Section 302(b)(1) of Title III of the ADA, it is unlawful discrimination to

       deny individuals with disabilities an opportunity to participate in or benefit from

       the products, services, facilities, privileges, advantages, or accommodation, which

       is equal to the opportunities afforded to other individuals. 42 U.S.C. §

       12182(b)(1)(A)(ii).

53.    Under Section 302(b)(2) of Title III of the ADA, unlawful discrimination also

       includes, among other things:

       [A] failure to make reasonable modifications in policies, practices, or procedures,
       when such modifications are necessary to afford such goods, services, facilities,
       privileges, advantages, or accommodations to individuals with disabilities, unless
       the entity can demonstrate that making such modifications would fundamentally
       alter the nature of such goods, services, facilities, privileges, advantages or
       accommodations; and a failure to take such steps as may be necessary to ensure
       that no individual with a disability is excluded, denied services, segregated or
       otherwise treated differently than other individuals because of the absence of
       auxiliary aids and services, unless the entity can demonstrate that taking such
       steps would fundamentally alter the nature of the good, service, facility, privilege,
       advantage, or accommodation being offered or would result in an undue burden.

42 U.S.C. § 12182(b)(2)(A)(ii)-(iii).

54.    The acts alleged herein constitute violations of Title III of the ADA, and the

       regulations promulgated thereunder. Plaintiff, who is a member of a protected




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       class of persons under the ADA, has a physical disability that substantially limits

       the major life activity of sight within the meaning of 42 U.S.C. §§ 12102(1)(A)-

       (2)(A). Furthermore, Plaintiff has been denied full and equal access to the

       Website, has not been provided services that are provided to other patrons who

       are not disabled, and has been provided services that are inferior to the services

       provided to non-disabled persons. Defendant has failed to take any prompt and

       equitable steps to remedy its discriminatory conduct. These violations are

       ongoing.

55.    Under 42 U.S.C. § 12188 and the remedies, procedures, and rights set forth and

       incorporated therein, Plaintiff, requests relief as set forth below.

                             SECOND CAUSE OF ACTION
                            VIOLATIONS OF THE NYCHRL
56.    Plaintiff, on behalf of herself and the New York City Sub-Class Members, repeats

       and realleges every allegation of the preceding paragraphs as if fully set forth

       herein.

57.    N.Y.C. Administrative Code § 8-107(4)(a) provides that “It shall be an unlawful

       discriminatory practice for any person, being the owner, lessee, proprietor,

       manager, superintendent, agent or employee of any place or provider of public

       accommodation, because of . . . disability . . . directly or indirectly, to refuse,

       withhold from or deny to such person, any of the accommodations, advantages,

       facilities or privileges thereof.”

58.    Defendant’s Website is a sales establishment and public accommodations within

       the definition of N.Y.C. Admin. Code § 8-102(9).




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59.    Defendant is subject to NYCHRL because it owns and operates its Website,

       making it a person within the meaning of N.Y.C. Admin. Code § 8-102(1).

60.    Defendant is violating N.Y.C. Administrative Code § 8-107(4)(a) in refusing to

       update or remove access barriers to Website, causing its Website and the services

       integrated with such Website to be completely inaccessible to the blind. This

       inaccessibility denies blind patrons full and equal access to the facilities, products,

       and services that Defendant makes available to the non-disabled public.

61.    Defendant is required to “make reasonable accommodation to the needs of

       persons with disabilities . . . any person prohibited by the provisions of [§ 8-107 et

       seq.] from discriminating on the basis of disability shall make reasonable

       accommodation to enable a person with a disability to . . . enjoy the right or rights

       in question provided that the disability is known or should have been known by

       the covered entity.” N.Y.C. Admin. Code § 8-107(15)(a).

62.    Defendant’s actions constitute willful intentional discrimination against the Sub-

       Class on the basis of a disability in violation of the N.Y.C. Administrative Code §

       8-107(4)(a) and § 8-107(15)(a) in that Defendant has:

              a.      constructed and maintained a website that is inaccessible to blind

              class members with knowledge of the discrimination; and/or

              b.      constructed and maintained a website that is sufficiently intuitive

              and/or obvious that is inaccessible to blind class members; and/or

              c.      failed to take actions to correct these access barriers in the face of

              substantial harm and discrimination to blind class members.




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63.    Defendant has failed to take any prompt and equitable steps to remedy their

       discriminatory conduct. These violations are ongoing.

64.    As such, Defendant discriminates, and will continue in the future to discriminate

       against Plaintiff and members of the proposed class and subclass on the basis of

       disability in the full and equal enjoyment of the products, services, facilities,

       privileges, advantages, accommodations and/or opportunities of its Website under

       § 8-107(4)(a) and/or its implementing regulations. Unless the Court enjoins

       Defendant from continuing to engage in these unlawful practices, Plaintiff and

       members of the class will continue to suffer irreparable harm.

65.    Defendant’s actions were and are in violation of the NYCHRL and therefore

       Plaintiff invokes her right to injunctive relief to remedy the discrimination.

66.    Plaintiff is also entitled to compensatory damages, as well as civil penalties and

       fines under N.Y.C. Administrative Code § 8-120(8) and § 8-126(a) for each

       offense as well as punitive damages pursuant to § 8-502.

67.    Plaintiff is also entitled to reasonable attorneys’ fees and costs.

68.    Under N.Y.C. Administrative Code § 8-120 and § 8-126 and the remedies,

       procedures, and rights set forth and incorporated therein Plaintiff prays for

       judgment as set forth below.

                                 THIRD CAUSE OF ACTION
                                  DECLARATORY RELIEF
69.    Plaintiff, on behalf of herself and the Class and New York City Sub-Classes

       Members, repeats and realleges every allegation of the preceding paragraphs as if

       fully set forth herein.




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70.       An actual controversy has arisen and now exists between the parties in that

          Plaintiff contends, and is informed and believes that Defendant denies, that its

          Website contains access barriers denying blind customers the full and equal

          access to the products, services and facilities of its Website, which Defendant

          owns, operates and controls, fails to comply with applicable laws including, but

          not limited to, Title III of the Americans with Disabilities Act, 42 U.S.C. §§

          12182, et seq., and N.Y.C. Admin. Code § 8-107, et seq. prohibiting

          discrimination against the blind.

71.       A judicial declaration is necessary and appropriate at this time in order that each

          of the parties may know their respective rights and duties and act accordingly.

                                   PRAYER FOR RELIEF
          WHEREFORE, Plaintiff respectfully requests this Court grant the following

relief:

                 a.      A preliminary and permanent injunction to prohibit Defendant

                 from violating the Americans with Disabilities Act, 42 U.S.C. §§ 12182, et

                 seq., N.Y.C. Administrative Code § 8-107, et seq., and the laws of New

                 York;

                 b.      A preliminary and permanent injunction requiring Defendant to

                 take all the steps necessary to make its Website into full compliance with

                 the requirements set forth in the ADA, and its implementing regulations,

                 so that the Website is readily accessible to and usable by blind individuals;

                 c.      A declaration that Defendant owns, maintains and/or operates its

                 Website in a manner that discriminates against the blind and which fails to

                 provide access for persons with disabilities as required by Americans with


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                Disabilities Act, 42 U.S.C. §§ 12182, et seq., N.Y.C. Administrative Code

                § 8-107, et seq., and the laws of New York

                d.      An order certifying the Class and Sub-Classes under Fed. R. Civ.

                P. 23(a) & (b)(2) and/or (b)(3), appointing Plaintiff as Class

                Representative, and her attorneys as Class Counsel;

                e.      Compensatory damages in an amount to be determined by proof,

                including all applicable statutory and punitive damages and fines, to

                Plaintiff and the proposed class and subclasses for violations of their civil

                rights under New York City Human Rights Law and City Law;

                f.      Pre- and post-judgment interest;

                g.      An award of costs and expenses of this action together with

                reasonable attorneys’ and expert fees; and

                h.      Such other and further relief as this Court deems just and proper.

                             DEMAND FOR TRIAL BY JURY
         Pursuant to Fed. R. Civ. P. 38(b), Plaintiff demands a trial by jury on all questions

of fact the Complaint raises.

Dated:      Hackensack, New Jersey
            October 14, 2020

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